                                        -MEMORANDUM
e 4:09-cr-00043-SPF Document 75-9 -OF
                                  Filed in USDC ND/OK on 06/01/09 Page 1
                                             INTERVIEW

                                        In re: Eddy Patterson
                                              730030040

    Date/Time:              March 1, 2000 approximately 0925 hours to 0940 hours

    Place:                  National Environmental Service Co
                            12331 East 60th Street
                            Tulsa, Oklahoma
                            (918) 307-1330

   Parties:                 Eddy Patterson                Subject-
                            Don Shoemake                ~i<!l     Agent IRS/Crn
                            Tim Arsenault                 Special Agent IRS/CID


    1.        On the above date and approximate time listed above, Special Agents DON
              SHOEMAKE and TIM ARSENAULT of the Internal Revenue Service Criminal
              Investigation Division (IRS-CID) contacted EDDY PATTERSON at his place of
              employment. Special Agents SHOEMAKE and ARSENAULT identified
              themselves to PATTERSON as Special Agents with the IRS-CID and provided
              their badges and credentials for inspection. PATTERSON was then informed that
              he was under criminal investigation for failure to file his 1996, 1997 and 1998
              federal income tax returns. ARSENAULT then read PATTERSON his Statement
              of Rights (Non Custody) per document 5661. When asked ifhe understood his
              rights PATTERSON stated "Yes" and nodded his head. ARSENAULT then
              asked PATTERSON if he would answer question at this time. PATTERSON
              stated he might "say something that would hurt him" and did not want to answer
              any questions without the presence of an attorney.

    2.        PATTERSON said DICK CLARK from Dallas, Texas was his advisor and would
              be in contact with agents. DICK CLARK is not an attorney.

    3.        PATTERSON also stated he doesn't have anything to hide and would cooperate
              with'the investigation. PATTERSON stated as he understands the law he did not
              do anything wrong.

    4.        ARSENAULT then served a Summons to PATTERSON. The Summons was
              addressed to NATIONAL ENVIRONMENTAL SERVICE for records relating to
              PATTERSON and his wife roDrm PATTERSON.


   I prepared this memorandum on March 1, 2dOO, from my recollection and after refreshing
   my memory from notes made during and immediately after the interview with EDDY
   PATTERSON.


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                                 Tim Arsenault
                                 Special Agent IRS / eID



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                  Don Shoemake
                                 Special Agent IRS / ern




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